Case 1:04-cr-10lOO-.]DT Document 35 Filed 07/28/05 Page 1 of 2 Page|D 37
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IN THE UNITED sTATES DISTRICT CoURT <’<$`z>r<°, ’°/y Qc_~
FoR THE WESTERN DISTRICT oF TENNESSEE ”f§??¢€{»;/G /-°/ _
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UNITED STATES OF AMERICA

vs CR NO. 1204-lOlOO-T

BARRY LAMAR WHITE, JR.

ORDER ON CHANGE OF PLEA

This cause came on to be heard on July 22, 2005, Assistant U. S. Attorney,
Richard Leigh Grinalds, appearing for the government, and the defendant appeared in person
and with counsel, M. Dianne Smothers, who was appointed

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in One (l) Count lndictrnent.

This case has been set for sentencing on Tuesdav. October 25.. 2005 at 8:30 A.M.

The defendant is remanded to the custody of the United States Marsha].

IT IS SO ORDERED.

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J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

